                                                       U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                       November 15, 2021

BY ECF
Hon. Richard M. Berman
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Reza Zarrab,
               S5 15 Cr. 867 (RMB)

Dear Judge Berman:

       The parties respectfully submit this letter pursuant to the Court’s order dated November 1,
2021 (D.E. 707) to inform the Court regarding their positions as to what extent additional unsealing
is appropriate under the current circumstances. The Government and defense counsel agree that
additional unsealing is appropriate and are continuing to confer on the extent to which records
appropriately should remain sealed. The parties will provide a further update regarding their
proposals.


                                                Respectfully submitted,

                                                DAMIAN WILLIAMS
                                                United States Attorney


                                          by:              /s/
                                                Michael D. Lockard / David W. Denton, Jr.
                                                Assistant United States Attorneys
                                                (212) 637-2193 / -2744


cc: Robert Anello, Esq. (by ECF)
